21 F.3d 424NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Michael Arnes SMITH, Plaintiff Appellant,v.W.R. HALL;  Surry County Sheriff's Department;  Surry CountyClerk of Court, Defendants Appellees.
    No. 93-7318.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 17, 1994.Decided March 14, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.  Frank W. Bullock, Jr., Chief District Judge.  (CA-92-724-6)
      Michael Arnes Smith, appellant pro se.
      Robert James Lawing, Robinson, Maready, Lawing &amp; Comerford, Winston-Salem, NC;  Jacob Leonard Safron, Special Deputy Atty. Gen., Raleigh, NC, for appellees.
      M.D.N.C.
      AFFIRMED.
      Before RUSSELL, MURNAGHAN, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Smith v. Hall, No. CA-92-724-6 (M.D.N.C. Nov. 4, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We note also that arrest warrants are public records in North Carolina.  N.C. Gen.Stat. Sec. 132-1.4(k) (1993)
      
    
    